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Entered: March 10th, 2025
Signed: March 7th, 2025

SO ORDERED
This order amends the order entered at Docket No. 187.




                                  IN THE UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF MARYLAND
                                              (Baltimore Division)

             In re
                                                                      Case No. 25-10308 (DER)
             Diamond Comic Distributors, Inc., et al.,
                                                                      Chapter 11
                                      Debtors.1
                                                                      (Jointly Administered)

                                                                      Re: D.I. 108


              ORDER ESTABLISHING PROCEDURES FOR INTERIM COMPENSATION AND
                     REIMBURSEMENT OF EXPENSES FOR PROFESSIONALS

                     Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

         (collectively, the “Debtors”) for the entry of an order establishing procedures for interim

         compensation and reimbursement of expenses for Professionals, all as more fully set forth in the

         Motion; it appearing that the relief requested is in the best interests of the Debtors’ estates, their

         creditors and other parties in interest; and the Court having jurisdiction to consider the Motion and

         the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and consideration of the Motion



         1
               The Debtors in these chapter 11 cases along with the last four digits of the Debtors’ federal tax identification
               numbers are: Diamond Comic Distributors, Inc. (3450); Comic Holdings, Inc. (7457); Comic Exporters, Inc.
               (7458); and Diamond Select Toys & Collectibles, LLC (6585). The Debtors’ mailing address is: 10150 York
               Road, Suite 300, Hunt Valley, Maryland 21030.
         2
               Capitalized terms used but not otherwise defined herein are defined in the Motion.
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and the relief requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue

being proper before the Court pursuant to 28 U.S.C. §§ 1408 and 1409; and notice of the Motion

having been adequate and appropriate under the circumstances; and after due deliberation and

sufficient cause appearing therefor,

       IT IS HEREBY ORDERED:

       1.      The Motion is GRANTED as set forth herein.

       2.      Except as may otherwise be provided in Court orders authorizing the retention of

specific Professionals, all Professionals in these chapter 11 cases may seek monthly compensation

in accordance with the following procedures:

               (a)      Following the month or months for which compensation is sought,
                        each Professional seeking compensation may file an application
                        pursuant to Local Bankruptcy Rule 2016-1 and Appendix D of the
                        Local Bankruptcy Rules for interim allowance of compensation for
                        services rendered and reimbursement of expenses incurred during
                        any preceding month (each, a “Monthly Fee Application”) and serve
                        such Monthly Fee Application on each of the following parties
                        (collectively, the “Notice Parties”):

                       i.   Diamond Comic Distributors, Inc., c/o Robert Gorin, CRO,
                            Getzler Henrich & Associates LLC, 1110 Brickell Avenue, 400-
                            64, Miami, Florida 33131 (rgorin@getzlerhenrich.com);

                      ii.   the Debtors’ proposed counsel, Saul Ewing LLP, 1500 Market
                            Street, 38th Floor, Philadelphia, Pennsylvania 19102, Attn:
                            Jeffrey C. Hampton (jeffrey.hampton@saul.com), Adam H.
                            Isenberg (adam.isenberg@saul.com), and Turner N. Falk
                            (turner.falk@saul.com) and 1201 North Market Street, Suite
                            2300, Wilmington, Delaware 19801, Attn: Paige N. Topper
                            (paige.topper@saul.com)      and     Nicholas    Smargiassi
                            (nicholas.smargiassi@saul.com);

                     iii.   the Office of the United States Trustee for the District of
                            Maryland, Attn: Gerard R. Vetter (gerard.r.vetter@usdoj.gov)
                            and Hugh M. Bernstein (hugh.m.bernstein@usdoj.gov);

                     iv.    proposed counsel to the Committee, (i) Lowenstein Sandler
                            LLP, 1251 Avenue of the Americas, New York, New York

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              10020, Attn: Bruce S. Nathan (bnathan@lowenstein.com),
              Gianfranco Finizio (gfinizio@lowenstein.com), and Chelsea
              Frankel (cfrankel@lowenstein.com) and One Lowenstein Drive,
              Roseland, New Jersey 07068, Attn: Michael Papandrea
              (mpapandrea@lowenstein.com), (ii) Tydings & Rosenberg
              LLP, One E. Pratt St., Suite 901, Baltimore, Maryland 21202,
              Attn: Stephen B. Gerald (sgerald@tydings.com) and Dennis
              Shaffer (dshaffer@tydings.com); and

        v.    counsel to JPMorgan Chase Bank, N.A., Troutman Pepper
              Locke LLP, 111 Huntington Ave., 9th Floor, Boston,
              Massachusetts 02199, Attn: Jonathan W. Young
              (jonathan.young@troutman.com),       David    Ruediger
              (david.ruediger@troutman.com), and Katherine Culbertson
              (katherine.culbertson@troutman.com).

(b)    Any Professional that fails to file a Monthly Fee Application for a
       particular month or months may subsequently submit a consolidated
       Monthly Fee Application that includes a request for compensation
       earned or expenses incurred during previous months. All Monthly Fee
       Applications shall comply with the Bankruptcy Code, the Bankruptcy
       Rules, the Local Bankruptcy Rules, and applicable orders of this Court.

(c)    Parties in interest will have 14 days (or the next business day if such day
       is not a business day) after service of a Monthly Fee Application (the
       “Objection Deadline”) to object to the requested fees and expenses in
       accordance with the procedures described in subparagraph (d) below.
       After expiration of the Objection Deadline, each Professional may file
       a certificate of no objection (“CNO”) with respect to the unopposed
       portion of the fees and expenses requested in its Monthly Fee
       Application. After a CNO is filed, the Debtors are authorized to pay the
       Professional an amount equal to the lesser of (i) 80% of the fees and
       100% of the expenses requested in the applicable Monthly Fee
       Application or (ii) 80% of the fees and 100% of the expenses not subject
       to an objection pursuant to subparagraph (d) below.

(d)    If any party in interest wishes to object to a Professional’s Monthly Fee
       Application, it must (i) file a written objection (each, an “Objection”)
       with the Court on or before the Objection Deadline and (ii) serve the
       Objection on the affected Professional and each of the other Notice
       Parties so that it is actually received by the other Notice Parties on or
       before the Objection Deadline. Any such Objection shall identify, with
       specificity, the objectionable fees and/or expenses, including the
       amount of such objected to fees and/or expenses, and the basis for such
       Objection. Thereafter, the objecting party and the affected Professional
       may attempt to resolve the Objection on a consensual basis. If the

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       parties are unable to reach a resolution of the Objection within 14 days
       after service of the Objection, or such additional time as the applicant
       and objecting party may agree, then the Debtors may pay 80% of the
       fees and 100% of the expenses attributable to the portion of the Monthly
       Fee Application that is not subject to the Objection. The disputed
       portion of any Monthly Fee Application that is the subject of an
       Objection will be addressed at the next available omnibus hearing for
       these chapter 11 cases, unless the objecting party and the affected
       Professional agree to adjourn the Objection to a later hearing date.

(e)    Each Professional may submit its first Monthly Fee Application on or
       after March 1, 2025. This initial Monthly Fee Application will cover
       the period from the Petition Date through February 28, 2025.
       Thereafter, the Professionals may file Monthly Fee Applications in the
       manner described above.

(f)    At three-month intervals or such other intervals convenient to the Court
       (the “Interim Fee Period”), each Professional may file and serve on the
       Notice Parties an interim fee application (each, an “Interim Fee
       Application”) for compensation and reimbursement of expenses sought
       by such Professional in its Monthly Fee Applications, including any
       holdbacks filed during the Interim Fee Period, pursuant to section 331
       of the Bankruptcy Code. The Interim Fee Application must include a
       brief summary identifying (i) the Monthly Fee Applications that are the
       subject of the request; (ii) the amount of fees and expenses requested;
       (iii) the amount of fees and expenses approved to date or subject to an
       Objection; and (iv) any other information requested by the Court or
       required by the Bankruptcy Rules or Local Bankruptcy Rules, including
       Appendix D to the Local Bankruptcy Rules.

       Each Professional shall file its first Interim Fee Application on or before
       April 30, 2025, and the first Interim Fee Application shall cover the
       period from the Petition Date through March 31, 2025. Thereafter, each
       Professional must file its Interim Fee Application within 30 days after
       the end of the applicable Interim Fee Period.

(g)    The Debtors will request that the Court schedule a hearing on Interim
       Fee Applications at least once every three months or at such other
       intervals as the Court deems appropriate. Parties in interest will have
       14 days after the service of an Interim Fee Application to file an
       Objection. The Court, in its discretion, may approve an uncontested
       Interim Fee Application without the need for a hearing upon the
       Professional’s filing of a CNO. Upon allowance by the Court of a
       Professional’s Interim Fee Application, the Debtors shall be authorized
       to promptly pay such Professional all allowed fees (including the 20%
       holdback) and expenses not previously paid.

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            (h)      A pending Objection to payment of compensation or reimbursement of
                     expenses will not disqualify a Professional from the future payment of
                     compensation or reimbursement of expenses under the Compensation
                     Procedures. Any Professional that fails to file an Interim Fee
                     Application when permitted will be ineligible to receive further interim
                     payments of fees or expenses under the Compensation Procedures until
                     such time as an Interim Fee Application is submitted by the
                     Professional.

            (i)      Neither (i) the payment of or the failure to pay, in whole or in part,
                     compensation for services and reimbursement of expenses under the
                     Compensation Procedures nor (ii) the filing of or the failure to file an
                     Objection to any Monthly Fee Application or Interim Fee Application
                     will bind any party in interest or the Court with respect to the allowance
                     of interim or final applications for compensation for services and
                     reimbursement of expenses of Professionals. All fees and expenses paid
                     to Professionals in accordance with the Compensation Procedures are
                     subject to disgorgement until final allowance by the Court.

            (j)      Professionals shall file final applications for compensation and
                     reimbursement (collectively, the “Final Fee Applications”) by such
                     deadline as may be established in a confirmed chapter 11 plan or in an
                     order of the Court. All Final Fee Applications shall comply with the
                     applicable provisions of the Bankruptcy Code, the Bankruptcy Rules,
                     the Local Bankruptcy Rules, and any applicable orders of this Court.

       3.         In each Interim Fee Application and Final Fee Application, all attorneys who have

been or are hereafter retained pursuant to sections 327 or 1103 of the Bankruptcy Code shall

comply with the U.S. Trustee’s requests for information and additional disclosures as set forth in

the Guidelines for Reviewing Applications for Compensation and Reimbursement of Expenses

Filed under 11 U.S.C. § 330 by Attorneys in Larger Chapter 11 Cases effective as of November

1, 2013.

       4.         The Professionals shall only be required to serve the Applications on the Notice

Parties. All other parties that have filed a notice of appearance with the clerk of the Court and

requested notice of pleadings in these Chapter 11 Cases shall be entitled to receive only the notice

of hearings of the applicable Application.

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       5.      All notices given in accordance with the Compensation Procedures shall be deemed

sufficient and adequate notice and in full compliance with the applicable provisions of the

Bankruptcy Code, the Bankruptcy Rules and the Local Bankruptcy Rules.

       6.      All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       7.      Notwithstanding anything to the contrary, the terms and conditions of this Order

shall be immediately effective and enforceable upon its entry.

       8.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.

       9.      The Court retains jurisdiction with respect to all matters arising from or related to

the interpretation or implementation of this Order.

                                       END OF ORDER




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